        CASE 0:19-cr-00211-JRT-BRT Doc. 144 Filed 10/19/20 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                   Crim. No. 19-211 (JRT/BRT)

                       Plaintiff,

 v.

 (1) Buster Travoire Gaston,                                     ORDER

                       Defendant.


Julie E. Allyn, Esq., United States Attorney’s Office, counsel for Plaintiff.

Rory Patrick Durkin, Esq., Giancola-Durkin, PA, counsel for Defendant Gaston.


       This action before the Court on October 16, 2020, for a hearing at the U.S.

Courthouse, 316 North Robert Street, St. Paul, MN 55101. The Defendant and the

Government presented their pretrial motions. Based on the file and documents contained

herein, along with the memoranda and arguments of counsel, the Court makes the

following Order:

       1.     Government’s Motions for Discovery Pursuant to Federal Rules of

Criminal Procedure 16(b), 12.1, 12.2, 12.3 and 26.2. The Government seeks disclosure

of documents and tangible objects, reports of examinations and tests, and a written

summary of expert testimony pursuant to Fed. R. Crim. P. 16(b). The Government also

seeks disclosure of any alibi by the Defendant pursuant to Fed. R. Crim. P. 12.1, and all

witness statements pursuant to Fed. R. Crim. P. 26.2. In addition, the Government seeks

notice (by the pretrial-motions-hearing date) pursuant to Fed. R. Crim. P. 12.2, if
        CASE 0:19-cr-00211-JRT-BRT Doc. 144 Filed 10/19/20 Page 2 of 4




Defendant intends to rely upon the defense of insanity or introduce expert testimony

relating to a mental disease or defect or any other mental condition of the Defendant

bearing on the issue of guilt. The Government also seeks notice (by the pretrial-motions-

hearing date) pursuant to Fed. R. Crim. P. 12.3, if Defendant intends to rely upon the

defense of actual or believed exercise of public authority on behalf of a law enforcement

agency or federal intelligence agency at the time of the offense. Defendant filed no

objection to the motions. Therefore, Defendant is hereby ordered to comply with the

discovery and disclosure obligations under the aforementioned rules. The Government’s

Motions for Discovery Pursuant to Federal Rules of Criminal Procedure 16(b), 12.1,

12.2, 12.3 and 26.2 (Doc. Nos. 27, 125) are GRANTED. The parties must disclose the

identity of any non-rebuttal experts and all non-rebuttal expert disclosures 30 days before

trial. Any rebuttal experts must be noticed along with the production of rebuttal expert

disclosures no later than 10 days before trial.

       2.     Defendant’s Motions for Discovery. Defendant has filed three motions for

discovery wherein he makes several requests. (Doc. No. 126, “Additional Demand for

Discovery Pursuant to All Applicable Federal Rules and Caselaw”; Doc. No. 131,

“Defendant’s Renewed Initial Demand for Discovery Pursuant to All Applicable Federal

Rules and Caselaw”; Doc. No. 132, “Renewed Supplemental Demand for Discovery

Pursuant to All Applicable Federal Rules and Caselaw.”) The Government filed a

response to Defendant’s motions. (Doc. No. 134.) In a status update to the Court dated

October 7, 2020, Defendant states that “[a]s for discovery, the government has provided

almost all of the discovery requested except for items 3 and 4 on at Docket #131, and #3

                                              2
        CASE 0:19-cr-00211-JRT-BRT Doc. 144 Filed 10/19/20 Page 3 of 4




on Docket 132.” (Doc. No. 139, 10/7/20 letter.) Accordingly, Defendant’s motions (Doc.

Nos. 126, 131, and 132) are GRANTED IN PART and DENIED IN PART as follows.

The motions are GRANTED to the extent that they conform to Fed. R. Crim. P. 12, 16,

and 26.2 and are not already moot. The motions are DENIED to the extent that the

Jencks Act protects disclosure, 1 and identification of witnesses shall be done in

accordance with the District Court’s pretrial order on disclosure of witness and exhibit

lists. Within 10 days of the date of this Order, the Government must disclose all Brady

and Giglio information in its possession or of which it has become aware as of the date of

this Order and must promptly supplement its disclosure upon receipt of any additional

Brady and Giglio information not previously disclosed. The parties must disclose the

identity of any non-rebuttal experts and all non-rebuttal expert disclosures 30 days before

trial. Any rebuttal experts must be noticed along with the production of rebuttal expert

disclosures no later than 10 days before trial. The Government must disclose Rule 404

evidence no later than 14 days prior to trial. In addition, the parties have a new dispute

regarding whether certain statements must be produced now pursuant to Brady or

whether they fall under the Jencks Act and produced according to the provisions of the

Act. The Court will allow the parties to brief the issue. Defendant shall file his post-

hearing brief no later than November 30, 2020, and the Government shall file its




1
      This includes any grand jury testimony. Nothing in this Order, however, precludes
the Government from voluntary reciprocal exchange of Jenks Act material with
Defendant prior to trial as the Government has represented that it will do.
                                              3
        CASE 0:19-cr-00211-JRT-BRT Doc. 144 Filed 10/19/20 Page 4 of 4




response no later than December 14, 2020. Upon receipt and review of the briefing, the

Court will issue an order on this remaining discovery issue.

       3.     Defendant’s Motion to Suppress. Defendant filed a “Renewed Demand

for Evidentiary Hearing and Issues,” within which he seeks to suppress evidence seized

from the stop and search of Defendant’s vehicle, asserting “there was no lawful basis to

stop the vehicle,” law enforcement “unlawfully and/or unreasonably extended the scope

of the initial stop,” “the driver did not consent to the search of the vehicle,” and “any

consent on the part of the Defendant was coerced and involuntary.” (Doc. No. 127.) 2 The

Government opposes the motion. At the October 16, 2020 hearing, the Court received

seven hearing exhibits, and Deputy/TFO Mark Altendorfer, Minnesota State Trooper

Patric Ignazewski, and Minnesota State Trooper Anthony Mains testified. The Court

requests post-hearing briefing on the issue. Defendant shall file his post-hearing brief no

later than November 30, 2020, and the Government shall file its response no later than

December 14, 2020. The Court will take Defendant’s motion to suppress (Doc. No. 127)

under advisement on December 14, 2020, and issue a Report and Recommendation to

the District Court.

       4.     The voir dire, jury instructions, and trial related motions due date, along

with the trial date, are to be determined by U.S. District Chief Judge John R. Tunheim.


Date: October 19, 2020                                    s/ Becky R. Thorson
                                                          BECKY R. THORSON
                                                          United States Magistrate Judge

2
       Defendant withdraws his request to suppress based on “any issues with respect to
the canine and whether it was a well-trained dog.” (Doc. No. 139, 10/7/20 Letter.)
                                              4
